                               Case 5:09-cv-00230-cr Document 656 Filed 06/01/15 Page 1 of 4
✎AO 187 (Rev. 7/87) Exhibit and Witness List


                                                 UNITED STATES DISTRICT COURT
                                                                                       DISTRICT OF                                        Vermont



                           Alice H. Allen et al
                                                                                                                 EXHIBIT AND WITNESS LIST
                                        V.
                 Dairy Farmers of America et al                                                                        Case Number: 5:9-cv-230

PRESIDING JUDGE                                                    PLAINTIFF’S ATTORNEY                                      DEFENDANT’S ATTORNEY
 Hon. Christina Reiss                                               R. Abrams, K. Pierson, B. Johnson, et                     S. Kuney
TRIAL DATE (S)                                                     COURT REPORTER                                            COURTROOM DEPUTY
 4/20/2015                                                  Anne Pierce                                               Pat Casey     +FO3VEEZ
 PLF.      DEF.         DATE
                                       MARKED ADMITTED                                                   DESCRIPTION OF EXHIBITS* AND WITNESSES
 NO.       NO.        OFFERED

             A        4/20/2015              y            y         Journal Sheets, Jonathan Haar

             B        4/20/2015              y            n         Email, Jonathan Haar

             C        4/20/2015              y            n         Notes: phone conversation, Jonathan Haar

             D        4/20/2015              y            n         Testimony: Doug Ricker

             E        4/20/2015              y            n         Letter: Donna Hall

             F        4/20/2015              y            n         Letter: Mike Eby

             G        4/20/2015              y            n         Letter: National Dairy Products




   1                  4/20/2015                                     Transcript: Fairness Hearing

   2                  4/20/2015                                     Transcript: Deposition-Garrett Sitts

   3                  4/20/2015                                     Email string: Foix, Sullivan, Allen, Sitts

   4                  4/20/2015                                     Opposition to Proposed Settlement

   5                  4/20/2015                                     Proposed Settlement

   6                  4/20/2015              y            y         Email: Sullivan re: Alice Allen

   7                  4/20/2015              y            y         Email: Haars

   8                  4/20/2015              y            n         Motion for New Counsel

   9                  4/20/2015              y            y         Trancript Excerpts-Depo Garrett Sitts: pp 161-162, 172, & 217
* Include a notation as to the location of any exhibit not held with the case file or not available because of size.

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✎AO 187A (Rev. 7/87)              EXHIBIT AND WITNESS LIST – CONTINUATION
                                                                                                 CASE NO.
           Alice H. Allen et al          vs.        Dairy Farmers of America et al                5:9-cv-230
 PLF.   DEF.     DATE
                           MARKED ADMITTED                                  DESCRIPTION OF EXHIBITS AND WITNESSES
 NO.    NO.    OFFERED

 10            4/20/2015     y       y         Transcript Excerpt-Depo Expert Witness Rausser: p 82


 11            4/20/2015     y       y         Dean Foods Document: cover page & Bates # ending 47

 12            4/20/2015     y       y         Email 8/4/2011 to class representatives: Dean Settlement Hearing

 13            4/20/2015     y       y         Transcript Exerpt-Class Certification Hearing: p 105

 14            4/20/2015     y       y         Email: 9/30/2011 Pierson, Farah re: Sitts call

 15            4/20/2015     y       y         Email: 12/28/2011

 16            4/20/2015     y       y         Email: 12/30/2011

 17            4/20/2015     y       y         Email: 1/22/2013

 18            4/20/2015     y       y         Email: 1/24/2013 Ben Brown

 19            4/20/2015     y       y         Email: 1/24/2013 Terry Sullivan




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✎AO 187A (Rev. 7/87)              EXHIBIT AND WITNESS LIST – CONTINUATION
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           Alice H. Allen et al          vs.        Dairy Farmers of America et al             5:9-cv-230
 PLF.   DEF.     DATE
                           MARKED ADMITTED                                 DESCRIPTION OF EXHIBITS AND WITNESSES
 NO.    NO.    OFFERED

               4/20/2015                       Ralph Sitts: sworn for Class Representatives




               4/20/2015                       Alice Allen: sworn for Class Counsel

               4/20/2015                       Kit Pierson: sworn for Class Counsel




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✎AO 187A (Rev. 7/87)              EXHIBIT AND WITNESS LIST – CONTINUATION
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           Alice H. Allen et al          vs.        Dairy Farmers of America et al                 5:9-cv-230
 PLF.   DEF.     DATE
                           MARKED ADMITTED                                    DESCRIPTION OF EXHIBITS AND WITNESSES
 NO.    NO.    OFFERED

 23             6/1/2015     y       y         Plaintiff's motion in Limine


 24             6/1/2015     y       y         Email from Mr. Brown to Mr. Pierson

 25             6/1/2015     y       y         copy of D. Hall Transcript-taken in conjunction with Ms. Hall's transcript submission to court

 26             6/1/2015     y       y         Farmshine Newsletter




 PT                                            Petitioners Exhibits:

 20             6/1/2015     y       y         Exhibit-list of petitions submitted to court

 21             6/1/2015     y                 Exhbit-Letter submitted by J. Haar: Mr. Eshelman's statement

 22             6/1/2015     y                 Letter submitted by J. Haar

 200            6/1/2015     y                 Civil Rules of Procedure, Court Docket Sheets, Pro-Se Litigant Information

 201            6/1/2015     y                 Picture of DVD cover-Amazing Grace

 202            6/1/2015     y                 Copy of Plaintiff exhibit 7

 203            6/1/2015     y                 Letter filed by the Haar's

 204            6/1/2015     y                 Email Document




                                               Witnesses

                6/1/2015                       Kit Pierson

                6/1/2015                       Benjamin Brown

                6/1/2015                       Andrew Manitsky

                6/1/2015                       Brent Johnson

                6/1/2015                       Garrett Sitts




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